UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA, : 22cr105 (DLC)

“Vv : ORDER

 

JAMES VELISSARIS,
Defendant.

DENISE COTE, District Judge:

Having received the defendant’s letter of February 8, 2023,
it is hereby

ORDERED the sentencing in this matter is adjourned to March
17, 2023, at 2:00 PM in Courtroom 18B, 500 Peari Street;

IT IS FURTHER ORDERED that the defendant’s submissions
regarding sentence shall be filed no later than March 3, and the
Government’s submissions shall be filed by March 10.

50 ORDERED:

Dated: New York, New York
February 8, 2023

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DENISE COTE
United states District Judge

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